
80 N.Y.2d 1005 (1992)
William P. Pahl Equipment Corp. et al., Appellants,
v.
Henry Kassis et al., Respondents, et al., Defendants.
Court of Appeals of the State of New York.
Submitted September 21, 1992.
Decided November 19, 1992.
Motion, insofar as it seeks leave to appeal from so much of the Appellate Division order as granted defendant's postjudgment cross motion for sanctions denied, with $100 costs and necessary reproduction disbursements; motion, insofar as it *1006 seeks leave to appeal from the remainder of the Appellate Division order, dismissed upon the ground that that part of the order does not finally determine the action within the meaning of the Constitution.
